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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

  THEODORE DRACHMAN,                            )
                                                )
                                                )
                      Plaintiff,
                                                ) Civil Action No. ___________
        v.                                      )
                                                )
  LENNAR CORPORATION,                           )
                                                )
                      Defendant.                )
                                                )


             COMPLAINT FOR ATTORNEYS’ FEES AND EXPENSES
       Plaintiff Theodore Drachman (“Plaintiff”), by his undersigned counsel,

 alleges upon information and belief, except for his own acts, which are alleged upon

 personal knowledge, as follows:

       1.      Plaintiff brings this action against Lennar Corporation (“Lennar” or the

 “Company”) seeking an award of attorneys’ fees and expenses for a benefit

 conferred on the Company’s stockholders by means of a pre-suit demand that caused

 corrective action to be taken and enabled stockholders to render a fully-informed

 vote on a proposed contract between the Board and Lennar’s stockholders.

       2.      On March 10, 2022, Plaintiff sent a stockholder demand letter (the

 “Demand,” attached hereto as Exhibit A) to Lennar’s board of directors (the

 “Board”). In the Demand, Plaintiff alleged that the Company’s Schedule 14A
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 Definitive Proxy Statement filed with the U.S. Securities and Exchange Commission

 (the “SEC”) on March 1, 2022 (the “Proxy,” attached hereto as Exhibit B) in

 connection with the Company’s 2022 Annual Meeting of Stockholders (the “Annual

 Meeting”) was materially false and misleading.

       3.     Specifically, in Proposal 4 of the Proxy (“Proposal 4”), the Board

 sought stockholder approval of various amendments to the Lennar Corporation 2016

 Equity Incentive Plan (the “Plan”), a plan that had reserved over 15,000,000 shares

 of Lennar common stock for issuance as equity awards to the Company’s officers,

 employees, non-employee directors, and other service providers. In describing the

 list of amendments, the Proxy explained to stockholders that the Board had increased

 the number of shares of the Company’s common stock authorized for issuance under

 the Plan by an additional 10,000,000 shares.

       4.     However, nowhere in the Proxy did the Board inform Lennar’s

 stockholders that, as part of the amendments, the Board removed provisions of the

 Plan that capped the amount of equity awards that could be granted to an individual

 participant in any calendar year. This per-person annual award cap helped minimize

 the dilution risk to stockholders from the Plan, while also serving as a tool to curb

 excessive executive compensation. Indeed, as described by the Board when it

 originally sought stockholder approval of the Plan in 2016, this cap, which the Board

 secretly jettisoned as part of the most recent amendments, was “consistent with good


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 corporate governance practices.” As the Delaware Court of Chancery recently noted

 with respect to a company that had made similar disclosures concerning a cap in its

 stockholder-approved equity plan, the cap was a matter of “evident importance” to

 stockholders. Garfield v. Allen, 277 A.3d 296 (Del. Ch. 2022).

       5.     Plaintiff accordingly demanded that the Board issue a supplemental

 disclosure prior to the stockholder vote at Annual Meeting to inform stockholders

 that the per-person annual equity cap had been removed. In response to the Demand,

 Lennar issued a supplement to the Proxy on March 16, 2022 (the “Supplement,”

 attached hereto as Exhibit C). In the Supplement, Lennar “add[ed] background

 information regarding Proposal 4,” including that the amended and restated Plan

 “removes provisions previously included,” such as “the individual award limits and

 the related provisions requiring such approval of awards.”

       6.     It is well established that a stockholder and his counsel are entitled to

 an award of attorneys’ fees and expenses for producing a benefit that inures to

 stockholders as a group. Mills v. Electric Auto-Lite Co., 396 U.S. 375, 396 (1970);

 Tandycrafts, Inc. v. Initio Partners, 562 A.2d 1162, 1164-65 (Del. 1989). This

 principle – known as the common or corporate benefit doctrine – includes any

 tangible and substantial benefit that is conferred on a company and its stockholders,

 including “[c]hanges in corporate policy or,” as here, “a heightened level of

 corporate disclosure” to stockholders. Tandycrafts, 562 A.2d at 1164-65. The


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 entitlement to an award of reasonable attorneys’ fees includes situations where, as

 here, a stockholder presents a demand asserting a meritorious legal claim that is

 resolved without litigation. Bird v. Lida, 681 A.2d 399, 405-07 (1996). Accordingly,

 Plaintiff seeks an award of attorneys’ fees and expenses in connection with the

 substantial benefit he conferred on the Company’s stockholders. Were it not for his

 counsel’s monitoring and investigation of the Company’s SEC filings, and the

 resulting Demand, stockholders would have been deprived of their fundamental right

 to an informed vote at the Annual Meeting.

       7.    Plaintiff attempted to resolve his request for a reasonable attorneys’ fee

 without litigation but the Company refused to engage.

                                     PARTIES

       8.    Plaintiff is, and has been at all relevant times, the owner of Lennar

 common stock. Plaintiff was entitled to vote at the Annual Meeting.

       9.    Lennar is a corporation organized and existing under the laws of the

 State of Delaware, which maintains its principal offices in Miami, Florida. As

 described its most recent Form 10-K Annual Report, the most substantial part of

 Lennar’s business is its homebuilding operations.

                          JURISDICTION AND VENUE




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       10.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. §1332

 because the parties are of diverse citizenship and the matter in controversy exceeds

 $75,000, exclusive of interests and costs.

       11.    Venue is proper in this District pursuant to 28 U.S.C. § 1391 because

 Defendant Lennar is incorporated in this District.

                           SUBSTANTIVE ALLEGATIONS

       12.    In seeking stockholder approval of amendments to the Plan, the Board

 was required to make full, fair, and truthful disclosures. The Board was required to

 provide stockholders with “a balanced, truthful account of all matters” the Board

 was asking stockholders to approve. In re Pure Res. Inc. S’holders. Litig., 808 A.2d

 421, 448 (Del. Ch. 2002) (citing Malone v. Brincat, 722 A.2d 5, 12 (Del. 1998)).

 “When a document ventures into certain subjects,” such as the Proxy’s discussion of

 the amendments that the Board made to the Plan, “it must do so in a manner that is

 materially complete and unbiased by the omission of material facts.” Id.

 A.    The Plan

       13.    The Plan was originally adopted by the Board and approved by the

 Company’s stockholders in 2016. The Plan reserved 15,000,000 shares of Lennar

 common stock for issuance as equity awards to the Company’s officers, employees,

 non-employee directors, and other service providers.




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       14.    As approved in 2016, the Plan imposed annual caps on the amount of

 equity awards an individual participant may receive. Specifically, Section 3.1 of the

 Plan, titled “Shares and Units Subject to the Plan,” imposed an annual cap on the

 amount of equity awards. As approved by Lennar’s stockholders in 2016, Section

 3.1 of the Plan provided:

       3.1 Aggregate Limits. Subject to adjustments as provided in Section 12,

       the total number of Shares subject to Awards granted under the Plan, in

       the aggregate, shall be 15,000,000. The maximum number of Shares

       that may underlie Awards, other than Options, granted in any one

       calendar year to any Eligible Person, shall not exceed 500,000.

       Subject to adjustments pursuant to Section 12, Incentive Stock Options

       with respect to an aggregate of no more than 14,500,000 Shares may be

       granted under the Plan, and in no event may any Eligible Person

       receive Options (or stock appreciation rights) for more than 1,000,000

       Shares during any calendar year. Notwithstanding the foregoing,

       except in the case of Awards intended to qualify as “performance-based

       compensation” within the meaning of Section 162(m) of the Code,

       there shall be no per-person limit on the number of Phantom Shares to

       the extent they are paid out in cash that may be granted under the Plan

       (emphasis added).


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       15.   Accordingly, pursuant to Section 3.1, during any calendar year, no

 individual participant was permitted to receive: (1) stock options or stock

 appreciation rights (“SARs”) covering more than 1,000,000 shares; or (2) other

 equity awards covering more than 500,000 shares (the “Per-Person Award

 Limitations”).

       16.   When the Board sought stockholder approval of the Plan in 2016, the

 Board acknowledged the importance of the Per-Person Award Limitations. As

 described in the Company’s Schedule 14A Proxy Statement filed with the SEC on

 March 2, 2016 (the “2016 Proxy”):


       The Board of Directors seeks stockholder approval of the 2016 Equity
       Plan in order to satisfy certain legal requirements, including
       requirements of the New York Stock Exchange (“NYSE”), and to make
       awards under it eligible for beneficial tax treatment. In addition, the
       Board of Directors regards stockholder approval of the 2016 Equity
       Plan as desirable and consistent with good corporate governance
       practices.
                                        ***

       Description of the 2016 Equity Incentive Plan

       Authorized Shares. The shares of our Class A common stock or Class
       B common stock (together, “Common Stock”) distributed under the
       2016 Equity Plan may be treasury shares or authorized but unissued
       shares of our Common Stock. The aggregate number of shares of the
       Common Stock subject to awards granted under the 2016 Equity Plan
       is 15,000,000, subject to adjustment as described below. No more than
       500,000 shares of our Common Stock may underlie awards, other than
       stock options (or stock appreciation rights), granted to any participant
       during a calendar year under the 2016 Equity Plan. Further, subject to
       adjustments, Incentive Stock Options (“ISOs”) with respect to an
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       aggregate of no more than 14,500,000 shares may be granted under the
       2016 Equity Plan, and in no event may any participant receive stock
       options (or stock appreciation rights) for more than 1,000,000 shares
       during any calendar year under the 2016 Equity Plan. However, the
       foregoing individual limits will not affect the number or types of stock
       or stock-based awards that a participant may receive under any other
       equity plan or arrangement of the Company in effect from time to time.

 B.    The Board adopts Amendments to the Plan and issues the False and
       Misleading Proxy.
       17.   On January 12, 2022, the Board adopted an amended and restated Plan

 subject to stockholder approval. In the amended and restated Plan, the Board made

 a number of amendments. The Board increased the number of shares reserved under

 the Plan by an additional 10,000,000 shares. As of January 12, 2022, only 5,604,233

 shares of the 15,000,000 shares remained under the Plan’s reserve. Thus, if

 stockholders approved the amended and restated Plan, there would be 15,604,233

 shares of Lennar common stock available for issuance under the Plan.

       18.   At the same time the Board added 10,000,000 shares to the Plan, it

 removed an important limitation on how those shares could be distributed.

 Specifically, the Board removed the Per-Person Award Limitations from the Plan

 entirely. As amended, the Plan no longer restricted the amount of stock options,

 SARs, other equity awards that an individual participant may receive annually.

 Section 3.1 of the amended and restated Plan was transformed into the following:

       3.1 Aggregate Limits. As of the Effective Date, an aggregate of
       15,000,000 Shares were available for awards under the Plan (subject to
       adjustments as provided in Section 12), of which approximately

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       5,604,233 shares remained available as of January 12, 2022. As
       amended and restated as of January 12, 2022, and effective upon
       approval by stockholders of the Company, the total number of Shares
       subject to Awards granted under the Plan is increased by an additional
       10,000,000 Shares and, in the aggregate, shall be 25,000,000, subject
       to adjustments as provided in Section 12. Subject to adjustments
       pursuant to Section 12, Incentive Stock Options with respect to an
       aggregate of no more than 24,000,000 Shares may be granted under the
       Plan.
       19.    On March 1, 2022, Lennar filed the Proxy with the SEC in connection

 with the Annual Meeting. The Board sought stockholder approval of the amended

 and restated Plan in Proposal 4, which stated:


       The primary purposes of the amendment and restatement of the 2016
       Equity Plan are to (i) increase the number of shares of our Common
       Stock authorized for issuance under the 2016 Equity Plan by an
       additional 10,000,000 shares (subject to adjustment for stock splits,
       stock dividends and similar events), (ii) extend the term of the 2016
       Equity Plan to January 12, 2032 (the 10-year anniversary of the
       approval of the Amended Equity Plan by the Board) and (iii) remove
       provisions of the 2016 Equity Plan included to comply with the
       exception     for    “performance-based       compensation”      under
       Section 162(m) of the Internal Revenue Code, or the Code, which was
       repealed in December 2017. As of January 12, 2022, there were
       5,604,233 shares remaining available for issuance under the 2016
       Equity Plan. If the Amended Equity Plan were effective on January 12,
       2022, there would be 15,604,233 shares remaining available for
       issuance (the 5,604,233 shares currently available for issuance and the
       additional 10,000,000 approved for issuance under the Amended
       Equity Plan).
                                         ***
       Authorized Shares. The shares of our Class A common stock or
       Class B common stock (together, “Common Stock”) distributed under
       the Amended Equity Plan may be treasury shares or authorized but
       unissued shares of our Common Stock. Under the 2016 Equity Plan (as

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       adopted by the Board of Directors on January 13, 2016 and approved
       by the stockholders of the Company on April 13, 2016), an aggregate
       of 15,000,000 shares of our Common Stock were available for awards
       under the 2016 Equity Plan (subject to adjustment as described below),
       of which approximately 5,604,233 shares remained available as of
       January 12, 2022. As amended and restated as of January 12, 2022, and
       effective upon approval by stockholders of the Company, the total
       number of shares of Common Stock subject to awards granted under
       the Amended Equity Plan is increased by an additional 10,000,000
       shares and, in the aggregate, will be 25,000,000, subject to adjustment
       as described below. Further, subject to adjustments, Incentive Stock
       Options (“ISOs”) with respect to an aggregate of no more than
       24,000,000 shares may be granted under the Amended Equity Plan.
       20.    The Board’s removal of the Per-Person Award Limitation was not

 disclosed anywhere in this description of the amendments the Board made to the

 Plan (or in any part of the Proxy for that matter).

       21.    As a material term that had been described to stockholders as “good

 corporate governance,” the Board’s removal of the Per-Person Award Limitations

 contemplated an important change to the Plan. This change needed to be disclosed

 to stockholders. With 15 million shares originally reserved for issuance under the

 Plan, the Per-Person Award Limitations helped minimize dilution and served as a

 tool to curb excessive executive compensation.1


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   In addition to serving stockholders’ interests in this way, the Per-Person Award
 Limitations served a tax purpose as well. Section 162(m) of the Internal Revenue
 Code (“Section 162(m)”) subjects publicly-held corporations, such as Lennar, to
 special restrictions concerning the compensation paid to their chief executive officer
 and certain other highly-compensated executives (the “Covered Employees”).
 Specifically, Section 162(m)(1) provides that compensation in excess of $1 million
 paid by a publicly-held corporation to any of the Covered Employees is generally
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        22.    Prior to its removal by the Board, the Per-Person Award Limitations

 capped the amount of equity that an individual participant could receive each year

 at 1,000,000 for stock options and SARs, and 500,000 for all other equity awards. In

 removing this provision, however, the Board claimed unfettered discretion to grant

 any participant an unlimited number of equity awards (subject only to the

 15,604,233-share aggregate Plan reserve) at any time. Indeed, in the absence of the

 Per-Person Award Limitations, the Board could grant all 15,604,233 shares as a

 time-based restricted stock award to the Company’s Chief Executive Officer in one

 shot. Yet, any stockholder reading the Proxy’s description of the Amendments had

 no idea of this drastic change to the Plan. Certainly, the wholesale removal of such

 a key provision needed to be disclosed to stockholders before they voted on the

 amended and restated Plan.


 not tax-deductible (the “$1 Million Deduction Limit”). Until the passage of the Tax
 Cuts and Jobs Act (the “TCJA”) in December 2017, Section 162(m)(4)(C) provided that
 compensation in excess of the $1 Million Deduction Limit would still be tax-deductible if it
 qualified as “performance-based compensation” (the “Performance-Based Compensation
 Exception”). The ability to take advantage of the Performance-Based Compensation Exception
 was guided by Section 1.162-27 of the Treasury Regulations (“Treas. Reg.”), promulgated
 under Section 162(m), which provided a set of rules to be followed in order for compensation
 to qualify as “performance-based compensation,” and be tax-deductible under Section
 162(m)(4)(C). For stock options and SARs to qualify as tax-deductible “performance-based
 compensation” under Section 162(m), the Treasury Regulations required, among other things,
 that the stock options/SARs be granted pursuant to a stockholder-approved plan that discloses
 “the maximum number of shares with respect to which options or rights may be granted during
 a specified period to any individual employee.” See Treas. Reg. Section 1.162-27(e)(2)(vi)(A).
 Likewise, with respect to other equity awards, the Treasury Regulations required, among other
 things, that the awards be granted pursuant a stockholder-approved plan that disclosed the “the
 maximum amount of compensation that could be paid to any employee.” See Treas. Reg.
 Section 1.162-27(e)(4)(i). The Per-Person Award Limitations satisfied these requirements.
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       23.    The Proxy not only failed to disclose material information, but was

 affirmatively misleading as well. By providing a list in Proposal 4 of the

 amendments made to the Plan, the Board had a duty to provide a complete and

 accurate list, especially with respect to material changes. In this list, the Board

 disclosed that it was increasing the aggregate limit, extending the term of the Plan,

 and making tax-related changes as a result of the passage of the TCJA in December

 2017,2 yet inexplicably left out a material change (removal of the Per-Person Award

 Limitations) that many stockholders were likely to find problematic.


 C.    After Plaintiff served his Demand, the Board promptly took corrective
       action.

       24.    In an attempt to obtain timely corrective action in advance of the

 Annual Meeting, Plaintiff served his Demand on March 10, 2022.

       25.    In his Demand, Plaintiff explained why the Proxy was materially false

 and misleading, and demanded that the Board issue a supplemental disclosure to


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   Though, as described above, the Per-Person Award Limitations helped satisfy
 Section 162(m)’s stockholder approval requirements and the Proxy disclosed that
 the proposed amendments “remove[d] provisions of the 2016 Equity Plan included
 to comply with the exception for “performance-based compensation,” no reasonable
 stockholder reading the Proxy would understand this to mean that the Per-Person
 Award Limitations has been discarded entirely, especially given that this provision
 also served important non-tax-related purposes. Indeed, the Per-Person Award
 Limitations were included in a section of the Plan entitled “Aggregate Limits” while
 the provisions that were included in the Plan solely for tax-related purposes were
 included in Section 8 of the Plan.


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 correct the Proxy before stockholders voted at the Annual Meeting. The Demand

 was delivered on April 12, 2022 via email to a Company representative, and in hard

 copy the following morning via UPS.

       26.   In response to the Demand, the Company disseminated the Supplement

 on March 16, 2022. In the Supplement, Lennar informed stockholders that the Per-

 Person Award Limitations had been removed from the Plan. Specifically, the

 Supplement stated that it was being “furnished in order to add background

 information regarding Proposal 4.” The Supplement specifically disclosed the

 removal of the Per-Person Award Limitations, stating as follows:

       As set forth in the 2022 Proxy Statement, Proposal 4 seeks stockholder
       approval of the Amended Equity Plan primarily to (i) increase the
       number of shares of our Common Stock authorized for issuance under
       the 2016 Equity Plan by an additional 10,000,000 shares (subject to
       adjustment for stock splits, stock dividends and similar events), (ii)
       extend the term of the 2016 Equity Plan to January 12, 2032 (the 10-
       year anniversary of the approval of the Amended Equity Plan by the
       Board) and (iii) remove provisions of the 2016 Equity Plan included to
       comply with the exception for “performance-based compensation”
       under Section 162(m) of the Internal Revenue Code, or the Code, which
       was repealed in December 2017 (“Section 162(m) Changes”).

       Included in the Section 162(m) Changes were the removal of annual
       limits on awards that an individual participant could receive. Under
       these limits, the maximum number of shares that may underlie awards
       (other than (i) stock options and (ii) phantom shares paid in cash that
       are not intended to qualify as “performance-based compensation” under
       Section 162(m) of the Code) granted in any one calendar year to any
       individual could not exceed 500,000, and no individual could receive
       stock options (or stock appreciation rights) for more than 1,000,000
       shares during any calendar year.

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       As a result, the Amended Equity Plan removes provisions . . . including
       . . . the individual award limits and the related provisions requiring
       approval of such awards and the certification of the attainment of the
       relevant performance goals by a committee of “outside directors”, as
       there is no longer any potential tax benefit for a plan to retain these
       provisions. The appropriate sizing of awards under the Amended
       Equity Plan will continue to be subject to the discretion of our
       Compensation Committee, which is composed solely of independent
       directors and is expected to oversee a compensation program with a
       significant emphasis on performance-based awards.

       The removal of annual individual award limits explained above also
       applies to awards to our non-employee directors, who are eligible to
       receive awards under the Amended Equity Plan.


       27.    Following the supplemental corrective disclosures, at the Annual

 Meeting, the Company’s stockholders approved the amendments to the Plan.


                           CAUSE OF ACTION
                PLAINTIFF’S CLAIM FOR A MOOTNESS FEE
       28.    The Demand raised meritorious legal claims with respect to the Board’s

 false and misleading disclosures in the Proxy.

       29.    In response to the meritorious Demand, Lennar remedied the disclosure

 problems, which directly conferred a substantial benefit on the Company’s

 stockholders, which in turn entitles Plaintiff to receive a reasonable attorneys’ fee.

       30.    Plaintiff’s counsel attempted to obtain a reasonable attorneys’ fee from

 the Company without resort to litigation, but the Company refused to engage.



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       31.    Plaintiff’s counsel has expended time and expense, completely at risk

 of loss and without remuneration, in connection with its successful detection and

 remediation of the disclosure problems asserted in the Demand, which permitted

 stockholders to make an informed decision about whether to approve the amended

 Plan at the Annual Meeting.

       32.    Plaintiff and his counsel are a direct and proximate cause of this

 common benefit, and it would be unjust and inequitable not to compensate Plaintiff’s

 counsel for achieving it.

       WHEREFORE, for the foregoing reasons, Plaintiff requests an order:

       A.     Awarding attorneys’ fees and expenses commensurate with the benefit

 that has been conferred as a result of the efforts undertaken by Plaintiff and his

 counsel, including attorneys’ fees and expenses for the prosecution of this action;

       B.     Granting such other relief as the Court may deem just and proper.

  Dated: May 10, 2023                        Respectfully submitted,

                                             FARNAN LLP

                                             /s/ Michael J. Farnan
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